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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    UNIVERSITY OF PITTSBURGH OF                        CIVIL ACTION
    THE COMMONWEALTH SYSTEM
    OF HIGHER EDUCATION,                               Case No. 2:22-cv-00630

                                     Plaintiff,        U.S. District Judge Nora Barry Fischer

                       v.

    PACS1 SYNDROME RESEARCH
    FOUNDATION,

                                   Defendant.

                MEMORANDUM IN SUPPORT OF MOTION TO DISMISS FOR
                         FAILURE TO STATE A CLAIM

         Defendant Pacs1 Syndrome Research Foundation (“Defendant” or the “Foundation”), by

and through its undersigned counsel, submits the following Memorandum in Support of its

Motion to Dismiss for Failure to State a Claim, of which the following is a statement:

                                        INTRODUCTION

         This is a contracts case between Plaintiff University of Pittsburgh of the Commonwealth

System of Higher Education (“Plaintiff” or the “Institution”) and Defendant Pacs1 Syndrome

Research Foundation, a non-for-profit 501(c)(3) foundation that seeks to advance the interests of

humanity by encouraging and supporting medical research particularly focused on finding a cure

for PACS1 Syndrome. PACS1 Syndrome is a debilitating, neuro-genetic disease, which severely

and negatively impacts the lives of all individuals inflicted with the disease. This dispute relates

to research performed by Plaintiff allegedly pursuant to a contract with the Foundation that

Plaintiff partially identifies in its Complaint (ECF No. 4).1


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 Plaintiff attached an undated and partially executed draft of the “PACS1 SYNDROME RESEARCH
FOUNDATION RESEARCH GRANT AGREEMENT,” an “AMENDMENT TO RESEARCH AGREEMENT”
executed December 5, 2018, and a mispaginated “AMENDMENT TO RESEARCH AGREEMENT” executed July


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         Broadly, the Complaint alleges that Plaintiff entered into an initial “Research Agreement”

to perform scientific research activities specifically enumerated in the Research Agreement and

subsequent amendments to the Research Agreement in exchange for funding specifically

allocated in those same documents. Plaintiff further claims that at some point during its

performance of the specified research activities, the Foundation entered into a side agreement

with Plaintiff to perform “Additional Research”, and that the Foundation breached this side

agreement by failing to fund the Additional Research.

         Plaintiff admits to entering into the Research Agreement and subsequent amendments,

but fails to appreciate that the Research Agreement and its three amendments constitute a

contract that was unambiguously and fully integrated (the “Contract”). That the Contract is fully

integrated is supported by an integration/merger clause, a clause that is further strengthened by

multiple other clauses in the Research Agreement and explicitly re-invoked in each of the three

subsequent amendments.

         The Research Agreement expressly defined the amount of funding to be provided in

exchange for the specific research to be conducted. The Research Agreement was followed by

three amendments, each of which was entered into according to the procedures set out in the

Research agreement, and each of which also expressly defined the amount of funding to be




15, 2020 as Complaint Exhibits A, B, & C, respectively. Plaintiff failed to include an “AMENDMENT TO
RESEARCH AGREEMENT” executed October 1, 2019 as an exhibit to its Complaint. “[I]n evaluating a motion
to dismiss, courts are not limited to the complaint, but may also consider evidence integral to or explicitly relied
upon therein.” B.P. by & through L.P. v. N. Allegheny Sch. Dist., No. 2:21-CV-1112, 2022 WL 114075, at *3 (W.D.
Pa. Jan. 12, 2022). Because the nature of the contractual relationship between Plaintiff and the Foundation is the
central issue raised by Plaintiff’s allegations, the final, executed, and complete written contractual documents
constitute evidence integral to Plaintiff’s Complaint. For ease of reference the “PACS1 SYNDROME RESEARCH
FOUNDATION RESEARCH GRANT AGREEMENT” executed November 15, 2017 (“Research Agreement”), the
“AMENDMENT TO RESEARCH AGREEMENT” executed December 5, 2018 (“First Amendment”), the
“AMENDMENT TO RESEARCH AGREEMENT” executed October 1, 2019 (“Second Amendment”), and the
“AMENDMENT TO RESEARCH AGREEMENT” executed July 15, 2020 (“Third Amendment") are attached
hereto as “Exhibits 1–4”, respectively.

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provided in exchange for the specific research to be conducted. This course of conduct in

adherence to the terms of the Contract further indicates that the Contract was a complete and

unambiguous expression of the parties’ intent, a fully integrated contract.

         Plaintiff alleges that three email chains from February and March 2020 between the

“Foundation Project Manager,’ Taruna Reddy, and Defendant’s “Principal Investigator,” Gary

Thomas, evince an agreement imposing duties and obligations beyond those imposed by the

Contract. However, where a party fails to allege fraud, accident, or mistake, the parol evidence

rule prohibits introduction of evidence extrinsic to an unambiguous and fully integrated contract.

Plaintiff does not allege fraud, accident or mistake, and under Pennsylvania law, the inclusion of

an integration/merger clause in a contract strengthens the parol evidence rule’s prohibitive effect.

         Plaintiff’s allegations of fact extrinsic to the Contract may not be considered when

interpreting the provisions of the Contract. Plaintiff makes no allegations of fact supporting a

claim of breach of the Contract. Therefore, Plaintiff’s plea of breach of contract is not only

insufficient to state a claim to relief that is plausible on its face, it is non-existent.

         In the alternative, Plaintiff seeks to recover in equity through quantum meruit and unjust

enrichment theories (Counts II and III of the Complaint, respectively). Plaintiff fails to

sufficiently plead these quasi-contract claims. First, as recently affirmed by the U.S. Court of

Appeals for the third Circuit, Pennsylvania law does not permit recovery under a quasi-contract

theory when the relationship between the parties is founded upon a written agreement. Because

Plaintiff’s relationship with the Foundation is based upon the Contract, a written agreement

comprised of the Research Agreement and its three subsequent amendments, Plaintiff’s claim is

facially insufficient.




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         Second, an essential element of claims for both unjust enrichment and quantum meruit is

the acceptance and retention of benefits under circumstances in which a failure to compensate

the party that bestowed the benefit would be unjust or inequitable. Pennsylvania has refused to

recognize this element where the benefit one party bestows upon the other also protects and

furthers the interest of the first party.

         For these reasons and others examined below, Plaintiff has failed in its attempt to allege

facts against the Foundation to show any facially plausible claim to relief.

                       LEGAL STANDARD FOR MOTION TO DISMISS

         “To survive a motion to dismiss [under FED. R. CIV. P. 12(b)(6)], a complaint must

contain sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its

face.'” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). Legal conclusions couched as factual allegations or “[t]hreadbare recitals

of the elements of a cause of action, supported by mere conclusory statements,” are not entitled

to an assumption of truth. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

         Additionally, a court must ‘tak[e] note of the elements a plaintiff must plead to state a

claim,’ identify allegations that, ‘because they are no more than conclusions, are not entitled to

the assumption of truth,’ and, ‘where there are well-pleaded factual allegations, [] assume their

veracity and then determine whether they plausibly give rise to an entitlement for relief.’”

Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (internal quotations omitted). A

complaint must do more than allege a plaintiff's entitlement to relief, it must “show” such an

entitlement with its facts. Phillips v. County of Allegheny, 515 F.3d 224, 234–35 (3d Cir.2008).

“Where the well-pleaded facts do not permit the court to infer more than the mere possibility of




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misconduct, the complaint has alleged—but it has not ‘shown’—‘that the pleader is entitled to

relief.’” Iqbal, 556 U.S. at 679 (quoting FED. R. CIV. P. 8(a)(2)).

                                            ARGUMENT

         I.       Plaintiff Has Failed to Plead Facts to Proceed on a Breach of Contract Claim.

         “To successfully maintain a cause of action for breach of contract the plaintiff must

establish: (1) the existence of a contract, including its essential terms, (2) a breach of a duty

imposed by the contract, and (3) resultant damages.” Hart v. Arnold, 884 A.2d 316, 332 (Pa.

2005) (citing Gorski v. Smith, 812 A.2d 683 (Pa. Super. Ct. 2002), appeal denied, 856 A.2d 834

(2004)).

         The fundamental rule in interpreting the meaning of a contract is to ascertain and
         give effect to the intent of the contracting parties. The intent of the parties to a
         written agreement is to be regarded as being embodied in the writing itself. The
         whole instrument must be taken together in arriving at contractual intent. Courts
         do not assume that a contract's language was chosen carelessly, nor do they
         assume that the parties were ignorant of the meaning of the language they
         employed. When a writing is clear and unequivocal, its meaning must be
         determined by its contents alone.

Murphy v. Duquesne University of the Holy Ghost, 777 A.2d 418, 429 (Pa. 2001) (internal

quotations omitted). “Only where a contract's language is ambiguous may extrinsic or parol

evidence be considered to determine the intent of the parties.” Id. (citing Hutchison v. Sunbeam

Coal Co., 519 A.2d 385, 390 (Pa. 1986)). Plaintiff does not allege any ambiguity in the

Contract’s language. (Complaint passim).

         The parol evidence rule “is a substantive rule of contract law ‘which in the absence of

fraud, accident or mistake, prohibits resort to extrinsic evidence to vary the meaning of a contract

when the language of the contract is unambiguous.’” E. C. Ernst, Inc. v. Koppers Co., 520 F.

Supp. 830, 839–40 (W.D. Pa. 1981) (quoting Whitmer v. C.I.R., 443 F.2d 170, 173 (3d Cir.

1971)). “Moreover, in Pennsylvania the parol evidence rule applies with particular force when,


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as in this case, the contract being construed is an integrated document.” E. C. Ernst, Inc., 520 F.

Supp. at 840 (emphasis added).

         The U.S. District Court for the Eastern District of Pennsylvania provides a concise

summary of the state law regarding integration: “Where it appears that a contract is ‘complete

within itself, couched in such terms as import a complete legal obligation without any

uncertainty as to the object or extent of the [parties'] engagement, it is conclusively presumed

that [the writing represents] the whole engagement of the parties.’” In re Green Goblin, Inc.,

470 B.R. 739, 751 (Bankr. E.D. Pa. 2012), aff'd, No. 12-CV-4076, 2014 WL 5800601 (E.D. Pa.

Nov. 6, 2014). The Court continues: “In determining whether the contract is fully or partially

integrated, courts have considered several factors including, whether the contract contains a

merger or integration clause, the length and detail of the contract, the formality of the setting,

and whether the contract is a form.” Id. (internal reference omitted). Under Pennsylvania law,

“[t]he effect of an integration clause is to make the parol evidence rule particularly applicable.”

Hart, 884 A.2d at 341 (quoting 1726 Cherry Street Partnership by 1726 Cherry Street Corp. v.

Bell Atlantic Properties, Inc., 653 A.2d 663, 665 (Pa. Super. Ct. 1995), appeal denied, 664 A.2d

976 (Pa. 1995)).

         The Contract, to which Plaintiff admits being a party (Complaint ¶¶ 7–10), was fully

integrated, as evinced by its merger/integration clause:

         This Agreement, together with all exhibits, constitutes the entire Agreement
         between the Parties with respect to the subject matter hereof and supersedes any
         prior or contemporaneous understanding or written or oral agreements with
         respect thereto, whether express or implied.

(Exh.1 cl. 12(c)). This merger/integration clause was unambiguously stated in the Research

Agreement and explicitly affirmed in each subsequent amendment. (See Exh. 2 cl. 2; Exh. 3 cl.

2; Exh. 4 cl. 2). The fact that it was fully integrated is further established by a number of


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additional clauses in the Research Agreement (Exh. 1), that suggest the parties carefully

contracted to ensure their entire intent was reflected in the document:

    •    Clause 12(d), “Amendment; Waivers,” states that the Research Agreement may only be
         amended by a written instrument executed by an authorized signatory of the parties, and
         also states that the same procedure is required for any term or condition to be waived.
         The clause goes on to detail several other contingencies that will not be deemed to affect
         the parties’ enforceable rights as expressed in the Research Agreement.

    •    Clause 12(e), “Severability,” dictates that should any provision be ruled illegal or deemed
         unenforceable, the parties intended for such a provision to be replaced by a
         legal/enforceable provision “as similar as possible in economic and business objectives”
         to the illegal/unenforceable provision.

    •    Clause 11(g), “Surviving Provisions,” states that the merger/integration clause survives
         termination of the Research Agreement, as do the preceding clauses on this list.

    •    Several provisions address different situations in which another party may become
         involved in the contract in some manner. Each such provision seeks to ensure that
         additional parties be bound by similar conditions as the original two parties have bound
         themselves. (See, e.g. cls. 2(d), 6(c), & 8(f)).

         As stated previously, where a party fails to allege fraud, accident, or mistake, the parol

evidence rule prohibits introduction of evidence extrinsic to an unambiguous and fully integrated

contract, and Plaintiffs fail to make any allegations of fraud, accident, or mistake. (Complaint

passim). Because the Contract is fully integrated and contains a merger/integration clause and

because the unambiguous, detailed, formal wording of the Contract suggests that it is a carefully

considered embodiment of the parties’ entire intent, the Contract enjoys strong protection

afforded by the parol evidence rule’s prohibition against the use of extrinsic evidence in its

interpretation. Plaintiff does not allege any facts showing a plausible claim for breach of the

Contract. Thus, Plaintiff’s pleading is insufficient to allow it to proceed on its breach of contract

claim.

         II.      Plaintiff Has Failed to Plead Sufficient Facts to Proceed on Either a Quantum
                  Meruit or Unjust Enrichment Quasi-Contract Claim.



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         First, “the Pennsylvania Supreme Court has left no doubt that ‘unjust enrichment is

inapplicable when the relationship between parties is founded upon a written agreement or

express contract, regardless of how harsh the provisions of such contracts may seem in the light

of subsequent happenings.’” SodexoMAGIC, LLC v. Drexel Univ., 24 F.4th 183, 228 (3d Cir.

2022) (quoting Wilson Area Sch. Dist. v. Skepton, 895 A.2d 1250, 1254 (Pa. 2006)) (additional

internal quotations omitted). Plaintiff admits to being a party to the Contract, which is

indisputably both a written agreement and an express contract. (Complaint ¶¶ 7–10). Not only

are Plaintiff’s pleadings insufficient to show a plausible claim to recovery in quasi contract, but

also Plaintiff explicitly admits to being a party to an agreement which renders quasi-contract

remedies inapplicable.

         Second, assuming arguendo that Pennsylvania law recognized the coexistence of claims

for breach of written agreements and recovery in quasi-contract, a “claim for damages in

quantum meruit is fundamentally an equitable claim of unjust enrichment in which the party

seeking recovery must demonstrate: ‘ … acceptance and retention of such benefits under such

circumstances that it would be inequitable for defendant to retain the benefit without payment of

value.’” Meyer, Darragh, Buckler, Bebenek & Eck, P.L.L.C. v. L. Firm of Malone Middleman,

P.C., 179 A.3d 1093, 1102 (Pa. 2018) (quoting Shafer Elec. & Const. v. Mantia, 96 A.3d 989,

993 (Pa. 2014)). “The Pennsylvania Supreme Court has rejected a claim of unjust enrichment

when a benefit that a party confers upon another also protects its own interest.” SodexoMAGIC,

LLC v. Drexel Univ., 24 F.4th 183, 229 (3d Cir. 2022) (citing Am. & Foreign Ins. Co. v. Jerry's

Sport Ctr., Inc., 2 A.3d 526, 546 (Pa. 2010)).

         Plaintiff admits to entering into the Contract (Complaint ¶¶ 7–10), a portion of which

states, “We are very excited to study the molecular and cellular properties of the PACS-1



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R203W mutation. … Together, these experiments will serve as the starting point for” additional

research, outside the scope of the Contract. (Exh. 1 app. A). Furthermore, the Contract grants

Plaintiff the right to publish findings generated by the research funded by the Foundation (Exh. 1

cl. 7), a right that would protect and further the interests of any “non-profit institution of higher

learning,” a class of organizations to which Plaintiff admits its own membership. (Complaint ¶

1). The Contract also grants Plaintiff title to “Funded IP,” any intellectual property created

pursuant to the research funded by the Foundation. (Exh. 1 cl. 8). Because of its own interests

in the alleged Additional Research, Plaintiff fails to sufficiently plead for recovery in quasi-

contract.

                                          CONCLUSION

         Based upon the foregoing, Defendant Pacs1 Syndrome Research Foundation requests that

this Honorable Court dismiss the Complaint allegations against it with prejudice.

                                                               Respectfully submitted,

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                                             Counsel for Defendant Pacs1 Syndrome
                                             Research Foundation




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNIVERSITY OF PITTSBURGH OF                            CIVIL ACTION
 THE COMMONWEALTH SYSTEM
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                                      Plaintiff,        U.S. District Judge Nora Barry Fischer

                        v.

 PACS1 SYNDROME RESEARCH
 FOUNDATION,

                                    Defendant.

                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of June, 2022, a true and correct copy of the

foregoing Memorandum in Support of Motion to Dismiss for Failure to State a Claim was

e-filed and served upon counsel of record via the Court’s CM/ECF system.

 Via email to tgebler@swartzcampbell.com                Via email to ShannonHuygens@pitt.edu

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